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IN THE UNITED sTATEs DISTRICT cOURT F"£o BY- ' D-C~
FOR THE wEsTERN DISTRICT oF TENNESSEE
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LAURENCE BLOCH, et al., thFK, U.$.D!F`THK?T COUHT
W/D §§ *HH!S

Plaintiffs,
v. NO. 05-2403 Ml/P
FIRST AMERICAN TITLE COMPANY,

Defendant.

 

ORDER SETTING TRIAL AND PRETRIAL DATES

 

Pursuant to Local Rule 72.1(f), a Rule 16(b) Scheduling Order
was entered on August 3, 2005, by United States Magistrate Judge Tu
M. Pham. In accordance with the deadlines established in that
order, the trial and pretrial dates are set as follows before the

District Court:

l. The jury trial in this matter, which is anticipated to
last four (4) days, is set to begin Mondav, October 16,
2006 at 9:30 a.m. in courtroom no. 4.

2. A pretrial conference is set for Tuesdav, October 10,
2006 at 8:45 a.m.

3. The joint pretrial order and proposed jury instructions

and Voir dire questions are due by no later than 4:30

p.m. on October 3, 2006.

ThJs document entered on the docket sheet in ccomp|iance
with sum 58 and/or re(a; FHCP on X-'/S'UQ

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Absent good cause, the dates established by this order shall

not be extended or modified.

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IT Is so 0RDERED this k> day of August, 2005.

@M‘@Ql

JO PHIPPS MCCALLA
UN 'I'ED STATES DISTRICT JUDGE

 

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02403 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

